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B2030 (Form 2030) (12/15)
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS
WICHITA FALLS DIVISION

Inre J&D Construction, LLC Case No. 19-70190-11
Chapter 11

AMENDED 7/29/19
DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), | certify that | am the attorney for the above named debtor(s) and
that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For legal services, | have agreed to ACCP... cececceceeeseseeeneteeeeeecsssseenseesateteene $0.00
Prior to the filing of this statement I have received... cccceccceccenseceeserectserseseenseets $0.00
Balance Due... cece ceccesccesecseescsscsaensaeeneees seeseeseeeseesssssesuscsssssssaceeuecnseecteessensnseseeeees $0.00

2. The source of the compensation paid to me was:
Debtor (1 Other (specify)

3. The source of compensation to be paid to me is:
Debtor (] Other (specify)

4. | have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

(‘+I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
compensation, is attached.

5. In return for the above-disclosed fee, | have agreed to render legal service for all aspects of the bankruptcy case, including:

a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
bankruptcy:

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
 

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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

NOTE: Aretainer fee of $8,500.00 was paid prepetition after payment for work done, prepetition is deducted. The
remainder will be drawn against. No amount has been set for the work to be done in this case.

 

CERTIFICATION

| certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding.

07/29/2019 /s/ John A. Leonard
Date John A. Leonard Bar No. 12209600

Leonard, Key & Key
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Phone: (940) 322-5217 / Fax: (940) 322-3381

 

fs/ Jared Don Fowler

Jared Don Fowler
Owner

 
